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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )         4:07CR3064
                                               )
                    Plaintiff,                 )
                                               )
      vs.                                      )
                                               )         ORDER
PRECIOUS JEWELS MILLER,                        )
                                               )
                    Defendant.                 )


      IT IS ORDERED that:

      (1)    The defendant’s motion to continue sentencing (filing 40) is granted.

       (2)     The defendant’s sentencing is continued to Thursday, November 1, 2007, at
12:30 p.m., before the undersigned United States district judge, in Courtroom No. 1, at the
Robert V. Denney Federal Building and United States Courthouse, in Lincoln, Nebraska.
Since this is a criminal case, the defendant shall be present unless excused by the court.

       September 13, 2007.                  BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
